                             Exhibit J




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                              UNITED STATES DEPARTMENT OF EDUCATION
                                                         OFFICE FOR CIVIL RIGHTS
                                                                                                      THE ASSISTANT SECRETARY


                                                                 April 4, 2011


  Dear Colleague:

  Education has long been recognized as the great equalizer in America. The U.S. Department of
  Education and its Office for Civil Rights (OCR) believe that providing all students with an
  educational environment free from discrimination is extremely important. The sexual
  harassment of students, including sexual violence, interferes with students’ right to receive an
  education free from discrimination and, in the case of sexual violence, is a crime.

  Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et seq., and its
  implementing regulations, 34 C.F.R. Part 106, prohibit discrimination on the basis of sex in
  education programs or activities operated by recipients of Federal financial assistance. Sexual
  harassment of students, which includes acts of sexual violence, is a form of sex discrimination
  prohibited by Title IX. In order to assist recipients, which include school districts, colleges, and
  universities (hereinafter “schools” or “recipients”) in meeting these obligations, this letter 1
  explains that the requirements of Title IX pertaining to sexual harassment also cover sexual
  violence, and lays out the specific Title IX requirements applicable to sexual violence.2 Sexual
  violence, as that term is used in this letter, refers to physical sexual acts perpetrated against a
  person’s will or where a person is incapable of giving consent due to the victim’s use of drugs or
  alcohol. An individual also may be unable to give consent due to an intellectual or other
  disability. A number of different acts fall into the category of sexual violence, including rape,

  1
    The Department has determined that this Dear Colleague Letter is a “significant guidance document” under the
  Office of Management and Budget’s Final Bulletin for Agency Good Guidance Practices, 72 Fed. Reg. 3432
  (Jan. 25, 2007), available at:
  http://www.whitehouse.gov/sites/default/files/omb/assets/regulatory_matters_pdf/012507_good_guidance.pdf.
  OCR issues this and other policy guidance to provide recipients with information to assist them in meeting their
  obligations, and to provide members of the public with information about their rights, under the civil rights laws
  and implementing regulations that we enforce. OCR’s legal authority is based on those laws and regulations. This
  letter does not add requirements to applicable law, but provides information and examples to inform recipients
  about how OCR evaluates whether covered entities are complying with their legal obligations. If you are interested
  in commenting on this guidance, please send an e-mail with your comments to OCR@ed.gov, or write to us at the
  following address: Office for Civil Rights, U.S. Department of Education, 400 Maryland Avenue, SW, Washington,
  DC 20202.
  2
    Use of the term “sexual harassment” throughout this document includes sexual violence unless otherwise noted.
  Sexual harassment also may violate Title IV of the Civil Rights Act of 1964 (42 U.S.C. § 2000c), which prohibits
  public school districts and colleges from discriminating against students on the basis of sex, among other bases.
  The U.S. Department of Justice enforces Title IV.


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            The Department of Education’s mission is to promote student achievement and preparation for global competitiveness
                                      by fostering educational excellence and ensuring equal access.
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  sexual assault, sexual battery, and sexual coercion. All such acts of sexual violence are forms of
  sexual harassment covered under Title IX.

  The statistics on sexual violence are both deeply troubling and a call to action for the nation. A
  report prepared for the National Institute of Justice found that about 1 in 5 women are victims
  of completed or attempted sexual assault while in college.3 The report also found that
  approximately 6.1 percent of males were victims of completed or attempted sexual assault
  during college.4 According to data collected under the Jeanne Clery Disclosure of Campus
  Security and Campus Crime Statistics Act (Clery Act), 20 U.S.C. § 1092(f), in 2009, college
  campuses reported nearly 3,300 forcible sex offenses as defined by the Clery Act. 5 This problem
  is not limited to college. During the 2007-2008 school year, there were 800 reported incidents
  of rape and attempted rape and 3,800 reported incidents of other sexual batteries at public
  high schools. 6 Additionally, the likelihood that a woman with intellectual disabilities will be
  sexually assaulted is estimated to be significantly higher than the general population.7 The
  Department is deeply concerned about this problem and is committed to ensuring that all
  students feel safe in their school, so that they have the opportunity to benefit fully from the
  school’s programs and activities.

  This letter begins with a discussion of Title IX’s requirements related to student-on-student
  sexual harassment, including sexual violence, and explains schools’ responsibility to take
  immediate and effective steps to end sexual harassment and sexual violence. These
  requirements are discussed in detail in OCR’s Revised Sexual Harassment Guidance issued in
  2001 (2001 Guidance). 8 This letter supplements the 2001 Guidance by providing additional
  guidance and practical examples regarding the Title IX requirements as they relate to sexual
  violence. This letter concludes by discussing the proactive efforts schools can take to prevent
  sexual harassment and violence, and by providing examples of remedies that schools and OCR
  may use to end such conduct, prevent its recurrence, and address its effects. Although some
  examples contained in this letter are applicable only in the postsecondary context, sexual

  3
    CHRISTOPHER P. KREBS ET AL., THE CAMPUS SEXUAL ASSAULT STUDY: FINAL REPORT xiii (Nat’l Criminal Justice Reference Serv.,
  Oct. 2007), available at http://www.ncjrs.gov/pdffiles1/nij/grants/221153.pdf. This study also found that the
  majority of campus sexual assaults occur when women are incapacitated, primarily by alcohol. Id. at xviii.
  4
    Id. at 5-5.
  5
    U.S. Department of Education, Office of Postsecondary Education, Summary Crime Statistics (data compiled from
  reports submitted in compliance with the Clery Act), available at
  http://www2.ed.gov/admins/lead/safety/criminal2007-09.pdf. Under the Clery Act, forcible sex offenses are
  defined as any sexual act directed against another person, forcibly and/or against that person’s will, or not forcibly
  or against the person’s will where the victim is incapable of giving consent. Forcible sex offenses include forcible
  rape, forcible sodomy, sexual assault with an object, and forcible fondling. 34 C.F.R. Part 668, Subpt. D, App. A.
  6
    SIMONE ROBERS ET AL., INDICATORS OF SCHOOL CRIME AND SAFETY: 2010 at 104 (U.S. Dep’t of Educ. & U.S. Dep’t of Justice,
  Nov. 2010), available at http://nces.ed.gov/pubs2011/2011002.pdf.
  7
    ERIKA HARRELL & MICHAEL R. RAND, CRIME AGAINST PEOPLE WITH DISABILITIES, 2008 (Bureau of Justice Statistics, U.S. Dep’t
  of Justice, Dec. 2010), available at http://bjs.ojp.usdoj.gov/content/pub/pdf/capd08.pdf.
  8
    The 2001 Guidance is available on the Department’s Web site at
  http://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf. This letter focuses on peer sexual harassment and
  violence. Schools’ obligations and the appropriate response to sexual harassment and violence committed by
  employees may be different from those described in this letter. Recipients should refer to the 2001 Guidance for
  further information about employee harassment of students.


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  harassment and violence also are concerns for school districts. The Title IX obligations discussed
  in this letter apply equally to school districts unless otherwise noted.

  Title IX Requirements Related to Sexual Harassment and Sexual Violence

  Schools’ Obligations to Respond to Sexual Harassment and Sexual Violence

  Sexual harassment is unwelcome conduct of a sexual nature. It includes unwelcome sexual
  advances, requests for sexual favors, and other verbal, nonverbal, or physical conduct of a
  sexual nature. Sexual violence is a form of sexual harassment prohibited by Title IX. 9

  As explained in OCR’s 2001 Guidance, when a student sexually harasses another student, the
  harassing conduct creates a hostile environment if the conduct is sufficiently serious that it
  interferes with or limits a student’s ability to participate in or benefit from the school’s
  program. The more severe the conduct, the less need there is to show a repetitive series of
  incidents to prove a hostile environment, particularly if the harassment is physical. Indeed, a
  single or isolated incident of sexual harassment may create a hostile environment if the
  incident is sufficiently severe. For instance, a single instance of rape is sufficiently severe to
  create a hostile environment.10

  Title IX protects students from sexual harassment in a school’s education programs and
  activities. This means that Title IX protects students in connection with all the academic,
  educational, extracurricular, athletic, and other programs of the school, whether those
  programs take place in a school’s facilities, on a school bus, at a class or training program



  9
    Title IX also prohibits gender-based harassment, which may include acts of verbal, nonverbal, or physical
  aggression, intimidation, or hostility based on sex or sex-stereotyping, even if those acts do not involve conduct of
  a sexual nature. The Title IX obligations discussed in this letter also apply to gender-based harassment. Gender-
  based harassment is discussed in more detail in the 2001 Guidance, and in the 2010 Dear Colleague letter on
  Harassment and Bullying, which is available at http://www2.ed.gov/about/offices/list/ocr/letters/colleague-
  201010.pdf.
  10
     See, e.g., Jennings v. Univ. of N.C., 444 F.3d 255, 268, 274 n.12 (4th Cir. 2006) (acknowledging that while not an
  issue in this case, a single incident of sexual assault or rape could be sufficient to raise a jury question about
  whether a hostile environment exists, and noting that courts look to Title VII cases for guidance in analyzing Title IX
  sexual harassment claims); Vance v. Spencer Cnty. Pub. Sch. Dist., 231 F.3d 253, 259 n.4 (6th Cir. 2000) (“‘[w]ithin
  the context of Title IX, a student’s claim of hostile environment can arise from a single incident’” (quoting Doe v.
  Sch. Admin. Dist. No. 19, 66 F. Supp. 2d 57, 62 (D. Me. 1999))); Soper v. Hoben, 195 F.3d 845, 855 (6th Cir. 1999)
  (explaining that rape and sexual abuse “obviously qualif[y] as…severe, pervasive, and objectively offensive sexual
  harassment”); see also Berry v. Chi. Transit Auth., 618 F.3d 688, 692 (7th Cir. 2010) (in the Title VII context, “a
  single act can create a hostile environment if it is severe enough, and instances of uninvited physical contact with
  intimate parts of the body are among the most severe types of sexual harassment”); Turner v. Saloon, Ltd., 595
  F.3d 679, 686 (7th Cir. 2010) (noting that “‘[o]ne instance of conduct that is sufficiently severe may be enough,’”
  which is “especially true when the touching is of an intimate body part” (quoting Jackson v. Cnty. of Racine, 474
  F.3d 493, 499 (7th Cir. 2007))); McKinnis v. Crescent Guardian, Inc., 189 F. App’x 307, 310 (5th Cir. 2006) (holding
  that “‘the deliberate and unwanted touching of [a plaintiff’s] intimate body parts can constitute severe sexual
  harassment’” in Title VII cases (quoting Harvill v. Westward Commc’ns, L.L.C., 433 F.3d 428, 436 (5th Cir. 2005))).


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  sponsored by the school at another location, or elsewhere. For example, Title IX protects a
  student who is sexually assaulted by a fellow student during a school-sponsored field trip.11

  If a school knows or reasonably should know about student-on-student harassment that
  creates a hostile environment, Title IX requires the school to take immediate action to eliminate
  the harassment, prevent its recurrence, and address its effects. 12 Schools also are required to
  publish a notice of nondiscrimination and to adopt and publish grievance procedures. Because
  of these requirements, which are discussed in greater detail in the following section, schools
  need to ensure that their employees are trained so that they know to report harassment to
  appropriate school officials, and so that employees with the authority to address harassment
  know how to respond properly. Training for employees should include practical information
  about how to identify and report sexual harassment and violence. OCR recommends that this
  training be provided to any employees likely to witness or receive reports of sexual harassment
  and violence, including teachers, school law enforcement unit employees, school
  administrators, school counselors, general counsels, health personnel, and resident advisors.

  Schools may have an obligation to respond to student-on-student sexual harassment that
  initially occurred off school grounds, outside a school’s education program or activity. If a
  student files a complaint with the school, regardless of where the conduct occurred, the school
  must process the complaint in accordance with its established procedures. Because students
  often experience the continuing effects of off-campus sexual harassment in the educational
  setting, schools should consider the effects of the off-campus conduct when evaluating
  whether there is a hostile environment on campus. For example, if a student alleges that he or
  she was sexually assaulted by another student off school grounds, and that upon returning to
  school he or she was taunted and harassed by other students who are the alleged perpetrator’s
  friends, the school should take the earlier sexual assault into account in determining whether
  there is a sexually hostile environment. The school also should take steps to protect a student
  who was assaulted off campus from further sexual harassment or retaliation from the
  perpetrator and his or her associates.

  Regardless of whether a harassed student, his or her parent, or a third party files a complaint
  under the school’s grievance procedures or otherwise requests action on the student’s behalf, a
  school that knows, or reasonably should know, about possible harassment must promptly
  investigate to determine what occurred and then take appropriate steps to resolve the
  situation. As discussed later in this letter, the school’s Title IX investigation is different from any
  law enforcement investigation, and a law enforcement investigation does not relieve the school
  of its independent Title IX obligation to investigate the conduct. The specific steps in a school’s

  11
     Title IX also protects third parties from sexual harassment or violence in a school’s education programs and
  activities. For example, Title IX protects a high school student participating in a college’s recruitment program, a
  visiting student athlete, and a visitor in a school’s on-campus residence hall. Title IX also protects employees of a
  recipient from sexual harassment. For further information about harassment of employees, see 2001 Guidance at
  n.1.
  12
     This is the standard for administrative enforcement of Title IX and in court cases where plaintiffs are seeking
  injunctive relief. See 2001 Guidance at ii-v, 12-13. The standard in private lawsuits for monetary damages is actual
  knowledge and deliberate indifference. See Davis v. Monroe Cnty. Bd. of Ed., 526 U.S. 629, 643, 648 (1999).


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  investigation will vary depending upon the nature of the allegations, the age of the student or
  students involved (particularly in elementary and secondary schools), the size and
  administrative structure of the school, and other factors. Yet as discussed in more detail below,
  the school’s inquiry must in all cases be prompt, thorough, and impartial. In cases involving
  potential criminal conduct, school personnel must determine, consistent with State and local
  law, whether appropriate law enforcement or other authorities should be notified. 13

  Schools also should inform and obtain consent from the complainant (or the complainant’s
  parents if the complainant is under 18 and does not attend a postsecondary institution) before
  beginning an investigation. If the complainant requests confidentiality or asks that the
  complaint not be pursued, the school should take all reasonable steps to investigate and
  respond to the complaint consistent with the request for confidentiality or request not to
  pursue an investigation. If a complainant insists that his or her name or other identifiable
  information not be disclosed to the alleged perpetrator, the school should inform the
  complainant that its ability to respond may be limited.14 The school also should tell the
  complainant that Title IX prohibits retaliation, and that school officials will not only take steps
  to prevent retaliation but also take strong responsive action if it occurs.

  As discussed in the 2001 Guidance, if the complainant continues to ask that his or her name or
  other identifiable information not be revealed, the school should evaluate that request in the
  context of its responsibility to provide a safe and nondiscriminatory environment for all
  students. Thus, the school may weigh the request for confidentiality against the following
  factors: the seriousness of the alleged harassment; the complainant’s age; whether there have
  been other harassment complaints about the same individual; and the alleged harasser’s rights
  to receive information about the allegations if the information is maintained by the school as an
  “education record” under the Family Educational Rights and Privacy Act (FERPA), 20 U.S.C.
  § 1232g; 34 C.F.R. Part 99. 15 The school should inform the complainant if it cannot ensure
  confidentiality. Even if the school cannot take disciplinary action against the alleged harasser
  because the complainant insists on confidentiality, it should pursue other steps to limit the
  effects of the alleged harassment and prevent its recurrence. Examples of such steps are
  discussed later in this letter.

  Compliance with Title IX, such as publishing a notice of nondiscrimination, designating an
  employee to coordinate Title IX compliance, and adopting and publishing grievance procedures,
  can serve as preventive measures against harassment. Combined with education and training
  programs, these measures can help ensure that all students and employees recognize the

  13
     In states with mandatory reporting laws, schools may be required to report certain incidents to local law
  enforcement or child protection agencies.
  14
     Schools should refer to the 2001 Guidance for additional information on confidentiality and the alleged
  perpetrator’s due process rights.
  15
     For example, the alleged harasser may have a right under FERPA to inspect and review portions of the complaint
  that directly relate to him or her. In that case, the school must redact the complainant’s name and other
  identifying information before allowing the alleged harasser to inspect and review the sections of the complaint
  that relate to him or her. In some cases, such as those where the school is required to report the incident to local
  law enforcement or other officials, the school may not be able to maintain the complainant’s confidentiality.


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  nature of sexual harassment and violence, and understand that the school will not tolerate such
  conduct. Indeed, these measures may bring potentially problematic conduct to the school’s
  attention before it becomes serious enough to create a hostile environment. Training for
  administrators, teachers, staff, and students also can help ensure that they understand what
  types of conduct constitute sexual harassment or violence, can identify warning signals that
  may need attention, and know how to respond. More detailed information and examples of
  education and other preventive measures are provided later in this letter.

  Procedural Requirements Pertaining to Sexual Harassment and Sexual Violence

  Recipients of Federal financial assistance must comply with the procedural requirements
  outlined in the Title IX implementing regulations. Specifically, a recipient must:

       (A) Disseminate a notice of nondiscrimination; 16

       (B) Designate at least one employee to coordinate its efforts to comply with and carry out
           its responsibilities under Title IX; 17 and

       (C) Adopt and publish grievance procedures providing for prompt and equitable resolution
           of student and employee sex discrimination complaints.18

  These requirements apply to all forms of sexual harassment, including sexual violence, and are
  important for preventing and effectively responding to sex discrimination. They are discussed in
  greater detail below. OCR advises recipients to examine their current policies and procedures
  on sexual harassment and sexual violence to determine whether those policies comply with the
  requirements articulated in this letter and the 2001 Guidance. Recipients should then
  implement changes as needed.

           (A) Notice of Nondiscrimination

  The Title IX regulations require that each recipient publish a notice of nondiscrimination stating
  that the recipient does not discriminate on the basis of sex in its education programs and
  activities, and that Title IX requires it not to discriminate in such a manner. 19 The notice must
  state that inquiries concerning the application of Title IX may be referred to the recipient’s Title
  IX coordinator or to OCR. It should include the name or title, office address, telephone number,
  and e-mail address for the recipient’s designated Title IX coordinator.

  The notice must be widely distributed to all students, parents of elementary and secondary
  students, employees, applicants for admission and employment, and other relevant persons.
  OCR recommends that the notice be prominently posted on school Web sites and at various

  16
     34 C.F.R. § 106.9.
  17
     Id. § 106.8(a).
  18
     Id. § 106.8(b).
  19
     Id. § 106.9(a).


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  locations throughout the school or campus and published in electronic and printed publications
  of general distribution that provide information to students and employees about the school’s
  services and policies. The notice should be available and easily accessible on an ongoing basis.

  Title IX does not require a recipient to adopt a policy specifically prohibiting sexual harassment
  or sexual violence. As noted in the 2001 Guidance, however, a recipient’s general policy
  prohibiting sex discrimination will not be considered effective and would violate Title IX if,
  because of the lack of a specific policy, students are unaware of what kind of conduct
  constitutes sexual harassment, including sexual violence, or that such conduct is prohibited sex
  discrimination. OCR therefore recommends that a recipient’s nondiscrimination policy state
  that prohibited sex discrimination covers sexual harassment, including sexual violence, and that
  the policy include examples of the types of conduct that it covers.

              (B) Title IX Coordinator

  The Title IX regulations require a recipient to notify all students and employees of the name or
  title and contact information of the person designated to coordinate the recipient’s compliance
  with Title IX.20 The coordinator’s responsibilities include overseeing all Title IX complaints and
  identifying and addressing any patterns or systemic problems that arise during the review of
  such complaints. The Title IX coordinator or designee should be available to meet with students
  as needed. If a recipient designates more than one Title IX coordinator, the notice should
  describe each coordinator’s responsibilities (e.g., who will handle complaints by students,
  faculty, and other employees). The recipient should designate one coordinator as having
  ultimate oversight responsibility, and the other coordinators should have titles clearly showing
  that they are in a deputy or supporting role to the senior coordinator. The Title IX coordinators
  should not have other job responsibilities that may create a conflict of interest. For example,
  serving as the Title IX coordinator and a disciplinary hearing board member or general counsel
  may create a conflict of interest.

  Recipients must ensure that employees designated to serve as Title IX coordinators have
  adequate training on what constitutes sexual harassment, including sexual violence, and that
  they understand how the recipient’s grievance procedures operate. Because sexual violence
  complaints often are filed with the school’s law enforcement unit, all school law enforcement
  unit employees should receive training on the school’s Title IX grievance procedures and any
  other procedures used for investigating reports of sexual violence. In addition, these employees
  should receive copies of the school’s Title IX policies. Schools should instruct law enforcement
  unit employees both to notify complainants of their right to file a Title IX sex discrimination
  complaint with the school in addition to filing a criminal complaint, and to report incidents of
  sexual violence to the Title IX coordinator if the complainant consents. The school’s Title IX
  coordinator or designee should be available to provide assistance to school law enforcement
  unit employees regarding how to respond appropriately to reports of sexual violence. The Title
  IX coordinator also should be given access to school law enforcement unit investigation notes

  20
       Id. § 106.8(a).



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  and findings as necessary for the Title IX investigation, so long as it does not compromise the
  criminal investigation.

          (C) Grievance Procedures

  The Title IX regulations require all recipients to adopt and publish grievance procedures
  providing for the prompt and equitable resolution of sex discrimination complaints. 21 The
  grievance procedures must apply to sex discrimination complaints filed by students against
  school employees, other students, or third parties.

  Title IX does not require a recipient to provide separate grievance procedures for sexual
  harassment and sexual violence complaints. Therefore, a recipient may use student disciplinary
  procedures or other separate procedures to resolve such complaints. Any procedures used to
  adjudicate complaints of sexual harassment or sexual violence, including disciplinary
  procedures, however, must meet the Title IX requirement of affording a complainant a prompt
  and equitable resolution. 22 These requirements are discussed in greater detail below. If the
  recipient relies on disciplinary procedures for Title IX compliance, the Title IX coordinator
  should review the recipient’s disciplinary procedures to ensure that the procedures comply
  with the prompt and equitable requirements of Title IX.23

  Grievance procedures generally may include voluntary informal mechanisms (e.g., mediation)
  for resolving some types of sexual harassment complaints. OCR has frequently advised
  recipients, however, that it is improper for a student who complains of harassment to be
  required to work out the problem directly with the alleged perpetrator, and certainly not
  without appropriate involvement by the school (e.g., participation by a trained counselor, a
  trained mediator, or, if appropriate, a teacher or administrator). In addition, as stated in the
  2001 Guidance, the complainant must be notified of the right to end the informal process at
  any time and begin the formal stage of the complaint process. Moreover, in cases involving
  allegations of sexual assault, mediation is not appropriate even on a voluntary basis. OCR
  recommends that recipients clarify in their grievance procedures that mediation will not be
  used to resolve sexual assault complaints.



  21
     Id. § 106.8(b). Title IX also requires recipients to adopt and publish grievance procedures for employee
  complaints of sex discrimination.
  22
     These procedures must apply to all students, including athletes. If a complaint of sexual violence involves a
  student athlete, the school must follow its standard procedures for resolving sexual violence complaints. Such
  complaints must not be addressed solely by athletics department procedures. Additionally, if an alleged
  perpetrator is an elementary or secondary student with a disability, schools must follow the procedural safeguards
  in the Individuals with Disabilities Education Act (at 20 U.S.C. § 1415 and 34 C.F.R. §§ 300.500-300.519, 300.530-
  300.537) as well as the requirements of Section 504 of the Rehabilitation Act of 1973 (at 34 C.F.R. §§ 104.35-
  104.36) when conducting the investigation and hearing.
  23
     A school may not absolve itself of its Title IX obligations to investigate and resolve complaints of sexual
  harassment or violence by delegating, whether through express contractual agreement or other less formal
  arrangement, the responsibility to administer school discipline to school resource officers or “contract” law
  enforcement officers. See 34 C.F.R. § 106.4.


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           Prompt and Equitable Requirements

   As stated in the 2001 Guidance, OCR has identified a number of elements in evaluating whether
   a school’s grievance procedures provide for prompt and equitable resolution of sexual
   harassment complaints. These elements also apply to sexual violence complaints because, as
   explained above, sexual violence is a form of sexual harassment. OCR will review all aspects of a
   school’s grievance procedures, including the following elements that are critical to achieve
   compliance with Title IX:
       • Notice to students, parents of elementary and secondary students, and employees of
           the grievance procedures, including where complaints may be filed;
       • Application of the procedures to complaints alleging harassment carried out by
           employees, other students, or third parties;
       • Adequate, reliable, and impartial investigation of complaints, including the opportunity
           for both parties to present witnesses and other evidence;
       • Designated and reasonably prompt time frames for the major stages of the complaint
           process;
       • Notice to parties of the outcome of the complaint; 24 and
       • An assurance that the school will take steps to prevent recurrence of any harassment
           and to correct its discriminatory effects on the complainant and others, if appropriate.

   As noted in the 2001 Guidance, procedures adopted by schools will vary in detail, specificity,
   and components, reflecting differences in the age of students, school sizes and administrative
   structures, State or local legal requirements, and past experiences. Although OCR examines
   whether all applicable elements are addressed when investigating sexual harassment
   complaints, this letter focuses on those elements where our work indicates that more
   clarification and explanation are needed, including:

           (A) Notice of the grievance procedures

   The procedures for resolving complaints of sex discrimination, including sexual harassment,
   should be written in language appropriate to the age of the school’s students, easily
   understood, easily located, and widely distributed. OCR recommends that the grievance
   procedures be prominently posted on school Web sites; sent electronically to all members of
   the school community; available at various locations throughout the school or campus; and
   summarized in or attached to major publications issued by the school, such as handbooks,
   codes of conduct, and catalogs for students, parents of elementary and secondary students,
   faculty, and staff.

           (B) Adequate, Reliable, and Impartial Investigation of Complaints

   OCR’s work indicates that a number of issues related to an adequate, reliable, and impartial
   investigation arise in sexual harassment and violence complaints. In some cases, the conduct
   24
     “Outcome” does not refer to information about disciplinary sanctions unless otherwise noted. Notice of the
   outcome is discussed in greater detail in Section D below.


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   may constitute both sexual harassment under Title IX and criminal activity. Police investigations
   may be useful for fact-gathering; but because the standards for criminal investigations are
   different, police investigations or reports are not determinative of whether sexual harassment
   or violence violates Title IX. Conduct may constitute unlawful sexual harassment under Title IX
   even if the police do not have sufficient evidence of a criminal violation. In addition, a criminal
   investigation into allegations of sexual violence does not relieve the school of its duty under
   Title IX to resolve complaints promptly and equitably.

   A school should notify a complainant of the right to file a criminal complaint, and should not
   dissuade a victim from doing so either during or after the school’s internal Title IX investigation.
   For instance, if a complainant wants to file a police report, the school should not tell the
   complainant that it is working toward a solution and instruct, or ask, the complainant to wait to
   file the report.

   Schools should not wait for the conclusion of a criminal investigation or criminal proceeding to
   begin their own Title IX investigation and, if needed, must take immediate steps to protect the
   student in the educational setting. For example, a school should not delay conducting its own
   investigation or taking steps to protect the complainant because it wants to see whether the
   alleged perpetrator will be found guilty of a crime. Any agreement or Memorandum of
   Understanding (MOU) with a local police department must allow the school to meet its Title IX
   obligation to resolve complaints promptly and equitably. Although a school may need to delay
   temporarily the fact-finding portion of a Title IX investigation while the police are gathering
   evidence, once notified that the police department has completed its gathering of evidence
   (not the ultimate outcome of the investigation or the filing of any charges), the school must
   promptly resume and complete its fact-finding for the Title IX investigation. 25 Moreover,
   nothing in an MOU or the criminal investigation itself should prevent a school from notifying
   complainants of their Title IX rights and the school’s grievance procedures, or from taking
   interim steps to ensure the safety and well-being of the complainant and the school community
   while the law enforcement agency’s fact-gathering is in progress. OCR also recommends that a
   school’s MOU include clear policies on when a school will refer a matter to local law
   enforcement.

   As noted above, the Title IX regulation requires schools to provide equitable grievance
   procedures. As part of these procedures, schools generally conduct investigations and hearings
   to determine whether sexual harassment or violence occurred. In addressing complaints filed
   with OCR under Title IX, OCR reviews a school’s procedures to determine whether the school is
   using a preponderance of the evidence standard to evaluate complaints. The Supreme Court
   has applied a preponderance of the evidence standard in civil litigation involving discrimination
   under Title VII of the Civil Rights Act of 1964 (Title VII), 42 U.S.C. §§ 2000e et seq. Like Title IX,



   25
     In one recent OCR sexual violence case, the prosecutor’s office informed OCR that the police department’s
   evidence gathering stage typically takes three to ten calendar days, although the delay in the school’s investigation
   may be longer in certain instances.


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   Title VII prohibits discrimination on the basis of sex. 26 OCR also uses a preponderance of the
   evidence standard when it resolves complaints against recipients. For instance, OCR’s Case
   Processing Manual requires that a noncompliance determination be supported by the
   preponderance of the evidence when resolving allegations of discrimination under all the
   statutes enforced by OCR, including Title IX. 27 OCR also uses a preponderance of the evidence
   standard in its fund termination administrative hearings. 28 Thus, in order for a school’s
   grievance procedures to be consistent with Title IX standards, the school must use a
   preponderance of the evidence standard (i.e., it is more likely than not that sexual harassment
   or violence occurred). The “clear and convincing” standard (i.e., it is highly probable or
   reasonably certain that the sexual harassment or violence occurred), currently used by some
   schools, is a higher standard of proof. Grievance procedures that use this higher standard are
   inconsistent with the standard of proof established for violations of the civil rights laws, and are
   thus not equitable under Title IX. Therefore, preponderance of the evidence is the appropriate
   standard for investigating allegations of sexual harassment or violence.

   Throughout a school’s Title IX investigation, including at any hearing, the parties must have an
   equal opportunity to present relevant witnesses and other evidence. The complainant and the
   alleged perpetrator must be afforded similar and timely access to any information that will be
   used at the hearing.29 For example, a school should not conduct a pre-hearing meeting during
   which only the alleged perpetrator is present and given an opportunity to present his or her
   side of the story, unless a similar meeting takes place with the complainant; a hearing officer or
   disciplinary board should not allow only the alleged perpetrator to present character witnesses
   at a hearing; and a school should not allow the alleged perpetrator to review the complainant’s


   26
      See, e.g., Desert Palace, Inc. v. Costa, 539 U.S. 90, 99 (2003) (noting that under the “conventional rule of civil
   litigation,” the preponderance of the evidence standard generally applies in cases under Title VII); Price
   Waterhouse v. Hopkins, 490 U.S. 228, 252-55 (1989) (approving preponderance standard in Title VII sex
   discrimination case) (plurality opinion); id. at 260 (White, J., concurring in the judgment); id. at 261 (O’Connor, J.,
   concurring in the judgment). The 2001 Guidance noted (on page vi) that “[w]hile Gebser and Davis made clear that
   Title VII agency principles do not apply in determining liability for money damages under Title IX, the Davis Court
   also indicated, through its specific references to Title VII caselaw, that Title VII remains relevant in determining
   what constitutes hostile environment sexual harassment under Title IX.” See also Jennings v. Univ. of N.C., 482 F.3d
   686, 695 (4th Cir. 2007) (“We look to case law interpreting Title VII of the Civil Rights Act of 1964 for guidance in
   evaluating a claim brought under Title IX.”).
   27
      OCR’s Case Processing Manual is available on the Department’s Web site, at
   http://www2.ed.gov/about/offices/list/ocr/docs/ocrcpm.html.
   28
      The Title IX regulations adopt the procedural provisions applicable to Title VI of the Civil Rights Act of 1964. See
   34 C.F.R. § 106.71 (“The procedural provisions applicable to Title VI of the Civil Rights Act of 1964 are hereby
   adopted and incorporated herein by reference.”). The Title VI regulations apply the Administrative Procedure Act
   to administrative hearings required prior to termination of Federal financial assistance and require that
   termination decisions be “supported by and in accordance with the reliable, probative and substantial evidence.”
   5 U.S.C. § 556(d). The Supreme Court has interpreted “reliable, probative and substantial evidence” as a direction
   to use the preponderance standard. See Steadman v. SEC, 450 U.S. 91, 98-102 (1981).
   29
      Access to this information must be provided consistent with FERPA. For example, if a school introduces an
   alleged perpetrator’s prior disciplinary records to support a tougher disciplinary penalty, the complainant would
   not be allowed access to those records. Additionally, access should not be given to privileged or confidential
   information. For example, the alleged perpetrator should not be given access to communications between the
   complainant and a counselor or information regarding the complainant’s sexual history.


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   statement without also allowing the complainant to review the alleged perpetrator’s
   statement.

   While OCR does not require schools to permit parties to have lawyers at any stage of the
   proceedings, if a school chooses to allow the parties to have their lawyers participate in the
   proceedings, it must do so equally for both parties. Additionally, any school-imposed
   restrictions on the ability of lawyers to speak or otherwise participate in the proceedings should
   apply equally. OCR strongly discourages schools from allowing the parties personally to
   question or cross-examine each other during the hearing. Allowing an alleged perpetrator to
   question an alleged victim directly may be traumatic or intimidating, thereby possibly escalating
   or perpetuating a hostile environment. OCR also recommends that schools provide an appeals
   process. If a school provides for appeal of the findings or remedy, it must do so for both parties.
   Schools must maintain documentation of all proceedings, which may include written findings of
   facts, transcripts, or audio recordings.

   All persons involved in implementing a recipient’s grievance procedures (e.g., Title IX
   coordinators, investigators, and adjudicators) must have training or experience in handling
   complaints of sexual harassment and sexual violence, and in the recipient’s grievance
   procedures. The training also should include applicable confidentiality requirements. In sexual
   violence cases, the fact-finder and decision-maker also should have adequate training or
   knowledge regarding sexual violence. 30 Additionally, a school’s investigation and hearing
   processes cannot be equitable unless they are impartial. Therefore, any real or perceived
   conflicts of interest between the fact-finder or decision-maker and the parties should be
   disclosed.

   Public and state-supported schools must provide due process to the alleged perpetrator.
   However, schools should ensure that steps taken to accord due process rights to the alleged
   perpetrator do not restrict or unnecessarily delay the Title IX protections for the complainant.

           (C) Designated and Reasonably Prompt Time Frames

   OCR will evaluate whether a school’s grievance procedures specify the time frames for all major
   stages of the procedures, as well as the process for extending timelines. Grievance procedures
   should specify the time frame within which: (1) the school will conduct a full investigation of
   the complaint; (2) both parties receive a response regarding the outcome of the complaint; and
   (3) the parties may file an appeal, if applicable. Both parties should be given periodic status
   updates. Based on OCR experience, a typical investigation takes approximately 60 calendar days
   following receipt of the complaint. Whether OCR considers complaint resolutions to be timely,
   however, will vary depending on the complexity of the investigation and the severity and extent
   of the harassment. For example, the resolution of a complaint involving multiple incidents with
   multiple complainants likely would take longer than one involving a single incident that


   30
     For instance, if an investigation or hearing involves forensic evidence, that evidence should be reviewed by a
   trained forensic examiner.


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   occurred in a classroom during school hours with a single complainant.

            (D) Notice of Outcome

   Both parties must be notified, in writing, about the outcome of both the complaint and any
   appeal, 31 i.e., whether harassment was found to have occurred. OCR recommends that schools
   provide the written determination of the final outcome to the complainant and the alleged
   perpetrator concurrently. Title IX does not require the school to notify the alleged perpetrator
   of the outcome before it notifies the complainant.

   Due to the intersection of Title IX and FERPA requirements, OCR recognizes that there may be
   confusion regarding what information a school may disclose to the complainant. 32 FERPA
   generally prohibits the nonconsensual disclosure of personally identifiable information from a
   student’s “education record.” However, as stated in the 2001 Guidance, FERPA permits a school
   to disclose to the harassed student information about the sanction imposed upon a student
   who was found to have engaged in harassment when the sanction directly relates to the
   harassed student. This includes an order that the harasser stay away from the harassed
   student, or that the harasser is prohibited from attending school for a period of time, or
   transferred to other classes or another residence hall. 33 Disclosure of other information in the
   student’s “education record,” including information about sanctions that do not relate to the
   harassed student, may result in a violation of FERPA.

   Further, when the conduct involves a crime of violence or a non-forcible sex offense, 34 FERPA
   permits a postsecondary institution to disclose to the alleged victim the final results of a
   31
      As noted previously, “outcome” does not refer to information about disciplinary sanctions unless otherwise
   noted.
   32
      In 1994, Congress amended the General Education Provisions Act (GEPA), of which FERPA is a part, to state that
   nothing in GEPA “shall be construed to affect the applicability of title VI of the Civil Rights Act of 1964, title IX of
   Education Amendments of 1972, title V of the Rehabilitation Act of 1973, the Age Discrimination Act, or other
   statutes prohibiting discrimination, to any applicable program.” 20 U.S.C. § 1221(d). The Department interprets
   this provision to mean that FERPA continues to apply in the context of Title IX enforcement, but if there is a direct
   conflict between the requirements of FERPA and the requirements of Title IX, such that enforcement of FERPA
   would interfere with the primary purpose of Title IX to eliminate sex-based discrimination in schools, the
   requirements of Title IX override any conflicting FERPA provisions. See 2001 Guidance at vii.
   33
      This information directly relates to the complainant and is particularly important in sexual harassment cases
   because it affects whether a hostile environment has been eliminated. Because seeing the perpetrator may be
   traumatic, a complainant in a sexual harassment case may continue to be subject to a hostile environment if he or
   she does not know when the perpetrator will return to school or whether he or she will continue to share classes
   or a residence hall with the perpetrator. This information also directly affects a complainant’s decision regarding
   how to work with the school to eliminate the hostile environment and prevent its recurrence. For instance, if a
   complainant knows that the perpetrator will not be at school or will be transferred to other classes or another
   residence hall for the rest of the year, the complainant may be less likely to want to transfer to another school or
   change classes, but if the perpetrator will be returning to school after a few days or weeks, or remaining in the
   complainant’s classes or residence hall, the complainant may want to transfer schools or change classes to avoid
   contact. Thus, the complainant cannot make an informed decision about how best to respond without this
   information.
   34
      Under the FERPA regulations, crimes of violence include arson; assault offenses (aggravated assault, simple
   assault, intimidation); burglary; criminal homicide (manslaughter by negligence); criminal homicide (murder and


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   disciplinary proceeding against the alleged perpetrator, regardless of whether the institution
   concluded that a violation was committed. 35 Additionally, a postsecondary institution may
   disclose to anyone—not just the alleged victim—the final results of a disciplinary proceeding if
   it determines that the student is an alleged perpetrator of a crime of violence or a non-forcible
   sex offense, and, with respect to the allegation made, the student has committed a violation of
   the institution’s rules or policies. 36

   Postsecondary institutions also are subject to additional rules under the Clery Act. This law,
   which applies to postsecondary institutions that participate in Federal student financial aid
   programs, requires that “both the accuser and the accused must be informed of the outcome 37
   of any institutional disciplinary proceeding brought alleging a sex offense.” 38 Compliance with
   this requirement does not constitute a violation of FERPA. Furthermore, the FERPA limitations
   on redisclosure of information do not apply to information that postsecondary institutions are
   required to disclose under the Clery Act. 39 Accordingly, postsecondary institutions may not
   require a complainant to abide by a nondisclosure agreement, in writing or otherwise, that
   would prevent the redisclosure of this information.

   Steps to Prevent Sexual Harassment and Sexual Violence and Correct its Discriminatory
   Effects on the Complainant and Others

   Education and Prevention

   In addition to ensuring full compliance with Title IX, schools should take proactive measures to
   prevent sexual harassment and violence. OCR recommends that all schools implement
   preventive education programs and make victim resources, including comprehensive victim
   services, available. Schools may want to include these education programs in their
   (1) orientation programs for new students, faculty, staff, and employees; (2) training for
   students who serve as advisors in residence halls; (3) training for student athletes and coaches;
   and (4) school assemblies and “back to school nights.” These programs should include a


   non-negligent manslaughter); destruction, damage or vandalism of property; kidnapping/abduction; robbery; and
   forcible sex offenses. Forcible sex offenses are defined as any sexual act directed against another person forcibly or
   against that person’s will, or not forcibly or against the person’s will where the victim is incapable of giving
   consent. Forcible sex offenses include rape, sodomy, sexual assault with an object, and forcible fondling. Non-
   forcible sex offenses are incest and statutory rape. 34 C.F.R. Part 99, App. A.
   35
      34 C.F.R. § 99.31(a)(13). For purposes of 34 C.F.R. §§ 99.31(a)(13)-(14), disclosure of “final results” is limited to
   the name of the alleged perpetrator, any violation found to have been committed, and any sanction imposed
   against the perpetrator by the school. 34 C.F.R. § 99.39.
   36
      34 C.F.R. § 99.31(a)(14).
   37
      For purposes of the Clery Act, “outcome” means the institution’s final determination with respect to the alleged
   sex offense and any sanctions imposed against the accused. 34 C.F.R. § 668.46(b)(11)(vi)(B).
   38
      34 C.F.R. § 668.46(b)(11)(vi)(B). Under the Clery Act, forcible sex offenses are defined as any sexual act directed
   against another person forcibly or against that person’s will, or not forcibly or against the person’s will where the
   person is incapable of giving consent. Forcible sex offenses include forcible rape, forcible sodomy, sexual assault
   with an object, and forcible fondling. Non-forcible sex offenses include incest and statutory rape. 34 C.F.R. Part
   668, Subpt. D, App. A.
   39
      34 C.F.R. § 99.33(c).


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   discussion of what constitutes sexual harassment and sexual violence, the school’s policies and
   disciplinary procedures, and the consequences of violating these policies.

   The education programs also should include information aimed at encouraging students to
   report incidents of sexual violence to the appropriate school and law enforcement authorities.
   Schools should be aware that victims or third parties may be deterred from reporting incidents
   if alcohol, drugs, or other violations of school or campus rules were involved. 40 As a result,
   schools should consider whether their disciplinary policies have a chilling effect on victims’ or
   other students’ reporting of sexual violence offenses. For example, OCR recommends that
   schools inform students that the schools’ primary concern is student safety, that any other
   rules violations will be addressed separately from the sexual violence allegation, and that use of
   alcohol or drugs never makes the victim at fault for sexual violence.

   OCR also recommends that schools develop specific sexual violence materials that include the
   schools’ policies, rules, and resources for students, faculty, coaches, and administrators.
   Schools also should include such information in their employee handbook and any handbooks
   that student athletes and members of student activity groups receive. These materials should
   include where and to whom students should go if they are victims of sexual violence. These
   materials also should tell students and school employees what to do if they learn of an incident
   of sexual violence. Schools also should assess student activities regularly to ensure that the
   practices and behavior of students do not violate the schools’ policies against sexual
   harassment and sexual violence.

   Remedies and Enforcement

   As discussed above, if a school determines that sexual harassment that creates a hostile
   environment has occurred, it must take immediate action to eliminate the hostile environment,
   prevent its recurrence, and address its effects. In addition to counseling or taking disciplinary
   action against the harasser, effective corrective action may require remedies for the
   complainant, as well as changes to the school’s overall services or policies. Examples of these
   actions are discussed in greater detail below.

   Title IX requires a school to take steps to protect the complainant as necessary, including taking
   interim steps before the final outcome of the investigation. The school should undertake these
   steps promptly once it has notice of a sexual harassment or violence allegation. The school
   should notify the complainant of his or her options to avoid contact with the alleged
   perpetrator and allow students to change academic or living situations as appropriate. For
   instance, the school may prohibit the alleged perpetrator from having any contact with the
   complainant pending the results of the school’s investigation. When taking steps to separate
   the complainant and alleged perpetrator, a school should minimize the burden on the

   40
     The Department’s Higher Education Center for Alcohol, Drug Abuse, and Violence Prevention (HEC) helps
   campuses and communities address problems of alcohol, other drugs, and violence by identifying effective
   strategies and programs based upon the best prevention science. Information on HEC resources and technical
   assistance can be found at www.higheredcenter.org.


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   complainant, and thus should not, as a matter of course, remove complainants from classes or
   housing while allowing alleged perpetrators to remain. In addition, schools should ensure that
   complainants are aware of their Title IX rights and any available resources, such as counseling,
   health, and mental health services, and their right to file a complaint with local law
   enforcement. 41

   Schools should be aware that complaints of sexual harassment or violence may be followed by
   retaliation by the alleged perpetrator or his or her associates. For instance, friends of the
   alleged perpetrator may subject the complainant to name-calling and taunting. As part of their
   Title IX obligations, schools must have policies and procedures in place to protect against
   retaliatory harassment. At a minimum, schools must ensure that complainants and their
   parents, if appropriate, know how to report any subsequent problems, and should follow-up
   with complainants to determine whether any retaliation or new incidents of harassment have
   occurred.

   When OCR finds that a school has not taken prompt and effective steps to respond to sexual
   harassment or violence, OCR will seek appropriate remedies for both the complainant and the
   broader student population. When conducting Title IX enforcement activities, OCR seeks to
   obtain voluntary compliance from recipients. When a recipient does not come into compliance
   voluntarily, OCR may initiate proceedings to withdraw Federal funding by the Department or
   refer the case to the U.S. Department of Justice for litigation.

   Schools should proactively consider the following remedies when determining how to respond
   to sexual harassment or violence. These are the same types of remedies that OCR would seek in
   its cases.

   Depending on the specific nature of the problem, remedies for the complainant might include,
   but are not limited to: 42
      • providing an escort to ensure that the complainant can move safely between classes
          and activities;
      • ensuring that the complainant and alleged perpetrator do not attend the same classes;
      • moving the complainant or alleged perpetrator to a different residence hall or, in the
          case of an elementary or secondary school student, to another school within the
          district;
      • providing counseling services;
      • providing medical services;
      • providing academic support services, such as tutoring;


   41
      The Clery Act requires postsecondary institutions to develop and distribute a statement of policy that informs
   students of their options to notify proper law enforcement authorities, including campus and local police, and the
   option to be assisted by campus personnel in notifying such authorities. The policy also must notify students of
   existing counseling, mental health, or other student services for victims of sexual assault, both on campus and in
   the community. 20 U.S.C. §§ 1092(f)(8)(B)(v)-(vi).
   42
      Some of these remedies also can be used as interim measures before the school’s investigation is complete.


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        •   arranging for the complainant to re-take a course or withdraw from a class without
            penalty, including ensuring that any changes do not adversely affect the complainant’s
            academic record; and
        •   reviewing any disciplinary actions taken against the complainant to see if there is a
            causal connection between the harassment and the misconduct that may have resulted
            in the complainant being disciplined.43

   Remedies for the broader student population might include, but are not limited to:
   Counseling and Training
      • offering counseling, health, mental health, or other holistic and comprehensive victim
         services to all students affected by sexual harassment or sexual violence, and notifying
         students of campus and community counseling, health, mental health, and other
         student services;
      • designating an individual from the school’s counseling center to be “on call” to assist
         victims of sexual harassment or violence whenever needed;
      • training the Title IX coordinator and any other employees who are involved in
         processing, investigating, or resolving complaints of sexual harassment or sexual
         violence, including providing training on:
             o the school’s Title IX responsibilities to address allegations of sexual harassment
                 or violence
             o how to conduct Title IX investigations
             o information on the link between alcohol and drug abuse and sexual harassment
                 or violence and best practices to address that link;
      • training all school law enforcement unit personnel on the school’s Title IX
         responsibilities and handling of sexual harassment or violence complaints;
      • training all employees who interact with students regularly on recognizing and
         appropriately addressing allegations of sexual harassment or violence under Title IX; and
      • informing students of their options to notify proper law enforcement authorities,
         including school and local police, and the option to be assisted by school employees in
         notifying those authorities.

   Development of Materials and Implementation of Policies and Procedures
      • developing materials on sexual harassment and violence, which should be distributed to
         students during orientation and upon receipt of complaints, as well as widely posted
         throughout school buildings and residence halls, and which should include:
             o what constitutes sexual harassment or violence
             o what to do if a student has been the victim of sexual harassment or violence
             o contact information for counseling and victim services on and off school grounds
             o how to file a complaint with the school
             o how to contact the school’s Title IX coordinator


   43
     For example, if the complainant was disciplined for skipping a class in which the harasser was enrolled, the
   school should review the incident to determine if the complainant skipped the class to avoid contact with the
   harasser.


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                o what the school will do to respond to allegations of sexual harassment or
                    violence, including the interim measures that can be taken
        •   requiring the Title IX coordinator to communicate regularly with the school’s law
            enforcement unit investigating cases and to provide information to law enforcement
            unit personnel regarding Title IX requirements; 44
        •   requiring the Title IX coordinator to review all evidence in a sexual harassment or sexual
            violence case brought before the school’s disciplinary committee to determine whether
            the complainant is entitled to a remedy under Title IX that was not available through the
            disciplinary committee; 45
        •   requiring the school to create a committee of students and school officials to identify
            strategies for ensuring that students:
                o know the school’s prohibition against sex discrimination, including sexual
                    harassment and violence
                o recognize sex discrimination, sexual harassment, and sexual violence when they
                    occur
                o understand how and to whom to report any incidents
                o know the connection between alcohol and drug abuse and sexual harassment or
                    violence
                o feel comfortable that school officials will respond promptly and equitably to
                    reports of sexual harassment or violence;
        •   issuing new policy statements or other steps that clearly communicate that the school
            does not tolerate sexual harassment and violence and will respond to any incidents and
            to any student who reports such incidents; and
        •   revising grievance procedures used to handle sexual harassment and violence
            complaints to ensure that they are prompt and equitable, as required by Title IX.

   School Investigations and Reports to OCR
      • conducting periodic assessments of student activities to ensure that the practices and
           behavior of students do not violate the school’s policies against sexual harassment and
           violence;
      • investigating whether any other students also may have been subjected to sexual
           harassment or violence;
      • investigating whether school employees with knowledge of allegations of sexual
           harassment or violence failed to carry out their duties in responding to those
           allegations;
      • conducting, in conjunction with student leaders, a school or campus “climate check” to
           assess the effectiveness of efforts to ensure that the school is free from sexual
           harassment and violence, and using the resulting information to inform future proactive
           steps that will be taken by the school; and


   44
      Any personally identifiable information from a student’s education record that the Title IX coordinator provides
   to the school’s law enforcement unit is subject to FERPA’s nondisclosure requirements.
   45
      For example, the disciplinary committee may lack the power to implement changes to the complainant’s class
   schedule or living situation so that he or she does not come in contact with the alleged perpetrator.


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        •   submitting to OCR copies of all grievances filed by students alleging sexual harassment
            or violence, and providing OCR with documentation related to the investigation of each
            complaint, such as witness interviews, investigator notes, evidence submitted by the
            parties, investigative reports and summaries, any final disposition letters, disciplinary
            records, and documentation regarding any appeals.

   Conclusion

   The Department is committed to ensuring that all students feel safe and have the opportunity
   to benefit fully from their schools’ education programs and activities. As part of this
   commitment, OCR provides technical assistance to assist recipients in achieving voluntary
   compliance with Title IX.

   If you need additional information about Title IX, have questions regarding OCR’s policies, or seek
   technical assistance, please contact the OCR enforcement office that serves your state or territory.
   The list of offices is available at http://wdcrobcolp01.ed.gov/CFAPPS/OCR/contactus.cfm.
   Additional information about addressing sexual violence, including victim resources and
   information for schools, is available from the U.S. Department of Justice’s Office on Violence
   Against Women (OVW) at http://www.ovw.usdoj.gov/. 46

   Thank you for your prompt attention to this matter. I look forward to continuing our work
   together to ensure that all students have an equal opportunity to learn in a safe and respectful
   school climate.

                                                         Sincerely,

                                                           /s/

                                                         Russlynn Ali
                                                         Assistant Secretary for Civil Rights




   46
     OVW also administers the Grants to Reduce Domestic Violence, Dating Violence, Sexual Assault, and Stalking on
   Campus Program. This Federal funding is designed to encourage institutions of higher education to adopt
   comprehensive, coordinated responses to domestic violence, dating violence, sexual assault, and stalking. Under
   this competitive grant program, campuses, in partnership with community-based nonprofit victim advocacy
   organizations and local criminal justice or civil legal agencies, must adopt protocols and policies to treat these
   crimes as serious offenses and develop victim service programs and campus policies that ensure victim safety,
   offender accountability, and the prevention of such crimes. OVW recently released the first solicitation for the
   Services, Training, Education, and Policies to Reduce Domestic Violence, Dating Violence, Sexual Assault and
   Stalking in Secondary Schools Grant Program. This innovative grant program will support a broad range of
   activities, including training for school administrators, faculty, and staff; development of policies and procedures
   for responding to these crimes; holistic and appropriate victim services; development of effective prevention
   strategies; and collaborations with mentoring organizations to support middle and high school student victims.


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